UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF TENNESSEE
-----------------------------------------------------------------------X
JOHNNY M. HUNT,                                                        :
                                                                       :
                                    Plaintiff,                         :
                                                                       :
                  -against-                                            :   Case No. 3:23-cv-00243
                                                                       :
SOUTHERN BAPTIST CONVENTION,                                           :
GUIDEPOST SOLUTIONS LLC, and                                           :
EXECUTIVE COMMITTEE OF THE SOUTHERN                                    :
BAPTIST CONVENTION,                                                    :
                                                                       :
                                    Defendants.                        :
-----------------------------------------------------------------------X

                       FED.R.CIV.P. 26(A)(1) INITIAL DISCLOSURES OF
                         DEFENDANT GUIDEPOST SOLUTIONS LLC

        Defendant Guidepost Solutions LLC (“Guidepost”) makes the following initial disclosures

(the “Disclosures”) pursuant to Rule 26(a)(1) of the Federal Rules of Civil Procedure. Guidepost

provides the Disclosures to the best of its knowledge and on the basis of the information available

as of this date. Guidepost reserves the right to alter, amend, supplement, augment, or otherwise

change the Disclosures as appropriate. No response or lack of response herein shall be understood

to limit the legal theories, factual contentions, or evidence to be employed, relied upon, or

presented by Guidepost during any proceeding in this case.




Case 3:23-cv-00243           Document 100-18             Filed 01/09/24    Page 1 of 6 PageID #: 1146
Initial Disclosure (A)(i):

Guidepost identifies the following individuals likely to have discoverable information (along with

the subjects of that information) that may be used to support its claims or defenses:

               Name                                            Subjects
       Samantha Kilpatrick,         x   Guidepost’s investigation of Complainant’s
       Sr. Managing                     allegations against Plaintiff, including interviews
       Director, Guidepost              of relevant witnesses
                                    x   Guidepost’s drafting, editing, and finalization of
                                        the relevant portion of the Report
       Russell Holske Jr.,          x   Guidepost’s investigation of Complainant’s
       Sr. Managing                     allegations against Plaintiff, including interviews
       Director, Guidepost              of relevant witnesses
                                    x   Guidepost’s drafting, editing, and finalization of
                                        the relevant portion of the Report
       Julie Myers Wood             x   Guidepost’s structure, operations, policies, and
       CEO, Guidepost                   procedures
                                    x   Scope of SBC’s engagement of Guidepost
       Krista Tongring,             x   Guidepost’s investigation of Complainant’s
       Sr. Managing                     allegations against Plaintiff, including interviews
       Director, Guidepost              of relevant witnesses
                                    x   Guidepost’s drafting, editing, and finalization of
                                        the Report
       Johnny M. Hunt               x   Complainant’s allegations against Plaintiff
                                    x   Guidepost’s investigation of Complainant’s
                                        allegations against Plaintiff
                                    x   Plaintiff’s claims in this action
       Complainant                  x   Allegations against Plaintiff
                                    x   Guidepost’s investigation of allegations against
                                        Plaintiff
       Complainant’s                x   Complainant’s allegations against Plaintiff
       Husband                      x   Guidepost’s investigation of Complainant’s
                                        allegations against Plaintiff
       Roy Blankenship              x   Complainant’s allegations against Plaintiff
                                    x   Communications with Plaintiff, Complainant, and
                                        Complainant’s Husband
                                    x   Guidepost’s investigation of Complainant’s
                                        allegations against Plaintiff
       Witness 1                    x   Complainant’s allegations against Plaintiff

       Witness 2                    x   Complainant’s allegations against Plaintiff



                                                 2
Case 3:23-cv-00243       Document 100-18         Filed 01/09/24      Page 2 of 6 PageID #: 1147
      Witness 3                 x   Complainant’s allegations against Plaintiff

      Janet Hunt                x   Plaintiff’s communications regarding Plaintiff’s
                                    encounter with Complainant
      Jim Law                   x   Plaintiff’s communications regarding Plaintiff’s
                                    encounter with Complainant
      Kevin Ezell,              x   Plaintiff’s communications regarding Plaintiff’s
      President, NAMB               encounter with Complainant
      Anna Gage                 x   Plaintiff’s communications regarding Plaintiff’s
                                    encounter with Complainant
      Christopher Lee           x   Plaintiff’s communications regarding Plaintiff’s
                                    encounter with Complainant
      Matt Lawson               x   Plaintiff’s confession and other communications
                                    regarding Complainant and marital counseling
      Mark Hoover               x   Plaintiff’s confession and other communications
                                    regarding Complainant and marital counseling
      Mike Whitson              x   Plaintiff’s confession and other communications
                                    regarding Complainant and marital counseling
      Steven Kyle               x   Plaintiff’s confession and other communications
                                    regarding Complainant and marital counseling
      Benny Tate                x   Plaintiff’s confession and other communications
                                    regarding Complainant and marital counseling
      Members of the SBC        x   Facts regarding the scope of the Report as it
      Executive Committee           concerns Plaintiff
      Bruce Frank               x   Information regarding SBC’s engagement of
                                    Guidepost
                                x   Facts regarding the scope of the Report as it
                                    concerns Plaintiff
      Rolland Slade             x   Information regarding SBC’s engagement of
                                    Guidepost
                                x   Facts regarding the scope of the Report as it
                                    concerns Plaintiff
      John E. Carswell          x   Plaintiff’s communications regarding Plaintiff’s
                                    encounter with Complainant
      Eddie Carswell            x   Plaintiff’s communications regarding Plaintiff’s
                                    encounter with Complainant
      Pete Hixson               x   Plaintiff’s communications regarding Plaintiff’s
                                    encounter with Complainant



                                             3
Case 3:23-cv-00243       Document 100-18     Filed 01/09/24      Page 3 of 6 PageID #: 1148
       John E. Carswell III        x   Plaintiff’s communications regarding Plaintiff’s
                                       encounter with Complainant
       Shane Pruitt                x   Plaintiff’s communications regarding Plaintiff’s
                                       encounter with Complainant

Initial Disclosure (A)(ii):

Guidepost identifies the following documents in its possession, custody, or control, among others,

that may be used to support its claims or defenses:

   x   Documents related to SBC’s engagement of Guidepost

   x   Documents collected or generated during Guidepost’s investigation of Complainant’s

       allegations against Plaintiff, including notes and recordings pertaining to said allegations

Initial Disclosure (A)(iii):

Not applicable

Initial Disclosure (A)(iv):

Guidepost identifies the following insurance agreements or other agreements to satisfy all or part

of a possible judgment in this action or to indemnify or reimburse Guidepost for payments made

to satisfy such judgment: SBC Engagement Agreement, Section 5.1.


Dated: Nashville, Tennessee
       New York, New York
       June 22, 2023
                                                 RILEY & JACOBSON, PLC

                                                 By: /s/ Katharine R. Klein
                                                    Katharine R. Klein
                                                    1906 West End Avenue
                                                    Nashville, Tennessee 37203
                                                    (615) 320-3700
                                                    KKlein@rjfirm.com




                                                 4
Case 3:23-cv-00243        Document 100-18        Filed 01/09/24      Page 4 of 6 PageID #: 1149
                                       MINTZ & GOLD LLP

                                       By: /s/ Steven G. Mintz
                                          Steven G. Mintz
                                          600 Third Avenue, 25th Floor
                                          New York, New York 10016
                                          (212) 696-4848
                                          mintz@mintzandgold.com

                                           Attorneys for Guidepost Solutions LLC




                                       5
Case 3:23-cv-00243   Document 100-18   Filed 01/09/24    Page 5 of 6 PageID #: 1150
                                  CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served via electronic
mail on the following:

        Todd G. Cole                                      L. Gino Marchetti, Jr.
        Andrew Goldstein.                                 Matt C. Pietsch
        COLE LAW GROUP, P.C.                              TAYLOR, PIGUE, MARCHETTI &
        1648 Westgate Circle, Suite 301                   BLAIR, PLLC
                                                          2908 Poston Avenue
        Brentwood, TN 37027                               Nashville, TN 37203
        Telephone: (615) 326-9059                         Telephone: (615) 320-3225
        tcole@colelawgrouppc.com                          gmarchetti@tpmblaw.com
        agoldstein@colelawgrouppc.com                     matt@tpmblaw.com

        Robert D. MacGill                                 Counsel for the Southern Baptist
        Scott E. Murray                                   Convention
        Patrick J. Sanders
        MACGILL PC                                        Scarlett Singleton Nokes
        156 E. Market St.                                 R. Brandon Bundren
        Suite 1200                                        E. Todd Presnell
        Indianapolis, IN 46204                            BRADLEY          ARANT        BOULT
        Telephone: (317) 721-1253                         CUMMINGS LLP
        robert.macgill@macgilllaw.com                     1600 Division Street, Suite 700
        scott.murray@macgilllaw.com                       Nashville, Tennessee 37203
        patrick.sanders@macgilllaw.com                    Telephone: (615) 244-2582
                                                          snokes@bradley.com
        Counsel for Plaintiff                             bbundren@bradley.com
                                                          tpresnell@bradley.com

                                                          Counsel for the Executive Committee
                                                          of the Southern Baptist Convention
        Gene Ross Besen
        BRADLEY ARANT BOULT
        CUMMINGS LLP
        1445 Ross Avenue
        Suite 3600
        Dallas, TX 75202
        Telephone: (214) 257-9758
        gbesen@bradley.com

        Counsel for the Executive Committee of
        the Southern Baptist Convention

on this 22nd day of June, 2023.
                                                             s/Katharine R. Klein

                                                     6

Case 3:23-cv-00243       Document 100-18         Filed 01/09/24      Page 6 of 6 PageID #: 1151
